AO 91 (Rev, IIIII). Criminal Complaint
                                                                                                                          FILED
                                     UNITED STATES DISTRICT COURT
                                                                   for the                                               DEC 2 8 2015
                                                   Eastern District of North Carolina

                  United States of America                              )
                                v.                                      )
                                                                        )    CaseNo.
               -HIKJ\!IATULLAH SHAD MAN
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                           DefendJJnt(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               January, 2009 to April, 2009        in the county of           Cumberland           in the

      Eastern          District of         NC and elsewhere      , the defendant(s) violated:

         . Code Section                                                         Offense Description
Title 18, US Code, Section 371                    Conspiracy to Commit Offenses Against the United States
Title 18, US Code, Section 201(c)                 Giving, Offering, and Promising Gratuities to Public Officials for or Because of
                                                  Any Official Act Performed or to be Performed by such Public Official




        _This criminal complaint is based on these facts:

See attached affidavit of Special Agent Timothy G. Gannon/FBI




          ~ Continued on the attached sheet.




Sworn to before me and signed in my presence.




                                                                                                  Judge 's signature

City and state:                            Raleigh, NC                            Robert T. Numbe~s. II, U.S. Magistrate Judge
                                                                                                Printed name and title




                   Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 1 of 12
                           AFFIDAVIT IN SUPPORT OF
                   CRIMINAL COMPLAINT AND ARREST WARRANT



       I, Timothy G. Gannon, being duly sworn state the following:


           1. I am a Special Agent ofthe Federal Bureau of Investigation (FBI) assigned to the

Charlotte Field Office (North Carolina) with duty in the FayettevJlle Resident Agency and am

your affiant herein. I have been a Special Agent with the FBI for over 25 years and have

investigated a wide variety of criminal offenses, including cases involving theft of government ·

property, money laundering, and public corruption offenses, to include bribery, kickbacks and

gratuities. Over the last several years, I have been heavily involved with investigations of these

types of offenses as they relate to the United States' war efforts overseas.

           2. This affidavit is being submitted in support of a criminal complaint charging

HIKMATULLAH SHADMAN with entering into a conspiracy to bribe public officials, in

violation of Title 18, United States Code, Section 371, and with giving and offering cash

gratuities to public officials for or because of any official act performed or. to be performed by

such public officials, in violation of Title 18, United States Code, Section 201(c)(1)(A). This

affidavit is also submitted in support of an arrest warrant on these charges.

           3. The statements contained in this affidavit are in part based on information

provided by Special Agents and other employees of the FBI, the United States Army Criminal

Investigation Command, the Defense Criminal Investigative Service, and the Special \Inspector

General for Afghanistan Reconstruction.        Statements are also based in part on interviews,

witness statements, records and documents gathered during the course of this investigation, and

on my experience and background as a Special Agent.ofthe FBI.




          Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 2 of 12
           4. I have not included each and every fact known to me concermng this

investigation; rather, I have set forth the facts that I believe are necessary to establish probable

cause to support the issuance of a complaint and an arrest warrant.

           5. Based on my training and experience, and the facts as set forth in this affidavit,

there is probable cause to believe that HIKMATULLAR SHADMAN has committed violations

of Title 18, United States Code, Sections 371, and 201(c)(1)(A), in connection with his receipt of

United States subcontracts in Afghanistan.


                                  STATUTORY BACKGROUND

           6. Title 18, United States Code, Section 371 makes it unlawful for two or more

persons to "conspire either to commit any offense against the United States, or to defraud the

United States, or any agency thereof in any manner or for any purpose, and one or more of such

persons do any act to effect the object ofthe conspiracy .... " 18 U.S.C. § 371.

           7. Title 18, United States Code, Section 201(c)(1)(A) makes it urtlawful for any

person to directly or indirectly give, offer, or promise anything of value to any public official,

former public official, or person selected to be a public official, for or because of any official act

performed or to be performed by such public official, former public official, or person selected to

be a public official. 18 U.S.C. § 201(c)(l)(A).

           8. Title 18, United States Code, Section 201(c)(1)(B) makes it unlawful for any

person, being a public official, former public official, or person selected to be a public official,

otherwise than as provided by law for the proper discharge of official duty, directly or indirectly·

demand, seek, receive, accept, or agree to receive or accept anything of value personally for or

because of any official act performed or to be performed by such official or person." 18 U.S.C.

§ 201(c)(1)(B).

                                                  2

          Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 3 of 12
            9. The statute further defines a "public official" to include any "officer or employee

or person acting for or on behalf of the United States, or any department, agency or branch of

Government thereof, ... in any official function, under or by authority of any such department,
                              ,.

agency or branch of Government." 18 U.S.C. § 201(a)(1).

            10. The statute further defines "official act" to mean "any decision or action on any

question, matter, cause, suit, proceeding or controversy, which may at any time be pending, or

which may by law be brought before any public official, in such official's official capacity, or in

such official's place of trust or profit." 18 U.S.C. § 201(a)(2).

            11. Venue in the Eastern District of North Carolina is established under Title 18,

United States Code, Section 3238, which provides that "all offenses begun or committed ... out

of the jurisdiction of any particular State or district, shall be in the district in which the offender,

or any one of two or more joint offenders, is arrested or is first brought;. .. " 18 U.S.C. § 3238.

            12. Title 18, United States Code, § 3287, provides for the wartime suspension of the

statute of limitations with certain offenses:

        When the United States i~ at war or Congress has enacted a specific authorization
        for the use of the Armed Forces, as described in section 5(b) of the War Powers
        Resolution (50 U.S.C. 1544(b)), the running of any statute of limitations
        applicable to any offense (1) involving fraud or attempted fraud against the
        United States or any agency thereof in any manner, whether by conspiracy or not,
        or (2) committed in connection with the acquisition, care, handling, custody,
        control or disposition of any real or personal property of the United States, or (3)
        committed in connection with the negotiation, procurement, award, performance,
        payment for, interim financing, cancelation, or other termination or settlement, of
        any contract, subcontract, or purchase order which is connected with or related to
       ·the prosecution of the war or directly connected with or related to the authorized
        use of the Armed Forces, or with any disposition of termination inventory by any
        war contractor or Government agency, shall be suspended until 5 years after the
        termination of hostilities as proclaimed by a Presidential proclamation, with
        notice to Congress, or by a concurrent resolution of Congress.

18 U.S.C. § 3287.



                                                   3

          Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 4 of 12
                       FACTS IN SUPPORT OF PROBABLE CAUSE

       At all times relevant to this Complaint,

                                Background of the Investigation

            13. The United States Government paid contractors and subcontractors through the

North Atlantic Treaty Organization (NATO) to transport supplies to United States military forces
           ',
operating in Afghanistan.     Afghan trucking companies competed for subcontracts to fill

requirements for the transport of fuel, food, water, and an assortment of other items to military

units located throughout Mghanistan.

            14. A NATO contract, known colloquially as the "Jingle Truck" contract, served as

one contract vehicle for supply transports. The contract was administered in Afghanistan by the

NATO Maintenance and Supply Agency, or NAMSA (since the time of the events alleged

herein, the name of this entity has changed to the NATO Support Agency (NSP A)).

            15. United States military units operating in southern Afghanistan submitted

requests for resupply of fuel, equipment, food, and other items to military logistics. units. One

such unit was the Movement Control Team (MCT) operating at Kandahar Air Field. The MCT

recorded unit requests onto Transportation Movement Request (TMR) forms.           The size and

number of trucks required to fulfill a particular TMR depended on the type and volume of the

items requested. TMR forms were routed through the prime contractor for the Jingle Truck

contract, and in tum subcontracts were awarded to Afghan trucking companies to complete the

requested transports. Once a TMR was fulfilled, the MCT certified that the requesting unit had

received the requested supplies, and the responsible trucking company was paid by the prime

contractor, and the cost was invoiced to the United States.




                                                  4

         Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 5 of 12
           16. Contracting rules required the Jingle Truck prime contractor to compete each

TMR by reviewing. competitive bids from a list of eligible Afghan trucking companies.

However, the competitive process often was circumvented when the MCT or the requesting unit

designated a specific trucking company.       Rather than competing the subcontract, the prime

contractor simply awarded the TMR subcontract directly to the designated company.

           17. HIKMATULLAB SHADMAN (also known as Hikmat Shadman), an Afghan

national, owned and operated Hikmat Shadman Logistics Services Company (HSLSC), also

known as Hikmat Shadman Supply and Construction .Company (HSCC).

           18. TOIFOR Global Life Support Services (now doing business as Xeless) was a

.Hungarian company with offices at Kandahar.· Air Field, Afghanistan.             Beginning in

approximately October 2007, TOIFOR served as the prime contractor to NAMSA for the Jingle

Truck contract.

           19. HSCC operated as one of TOIFOR's subcontractors for TMR subcontracts

awarded under the Jingle Truck prime contract.

           20. Co-conspirator Staff Sergeant (now Sergeant First Class) Robert Warren Green,
                                  .                                                     '
who, along with SHADMAN, is one of the joint offenders in the bribery scheme described

herein, was a member of the United States Army, a department of the United States. As such, he

was a public official within the meaning of Title 18, United States Code, Section 201(a). Green,

a resident of this District, has been charged, pleaded guilty, and has been sentenced in the

Eastern District of North Carolina for his conduct described in this Complaint. See United States

v. Robert Warren Green, No. 5:15-CR-108-1BO (pled guilty to demanding, seeking, and

receiving gratuities in violation of 18 U.S.C. § 201(c)(l)(B)).




                                                 5

          Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 6 of 12
           21. Co-conspirator First Lieutenant (now Captain) David Anthony Kline, who, along

with SHADMAN, is one of the joint offenders in the bribery scheme described herein, was a

member of the United States Army, a department of the United States. As such, he was a public

official within the meaning of Title 18, United States Code, Section 201(a). Kline has been

charged and has pleaded guilty in the Eastern District of North Carolina for his conduct

described in this Complaint. See United States v. David Anthony Kline, No. 5:15-CR-264-1BO

(pled guilty to demanding, seeking, and receiving gratuities in violation of 18 U.S.C.

§ 201(c)(l)(B)).

           22. The FBI and other agencies ·have been investigating bribery and corruption in

connection with military war efforts overseas, including Afghanistan. The investigation has led

to evidence of gratuities and bribes paid by Afghan contractors to United States public officials.

The contractors include Afghan trucking companies subcontracted to fulfill TMRs who made

payments to individuals working in the MCT or otherwise involved in managing or overseeing

the TMR process.

           23. The investigation revealed evidence of irregularities in the contracting process, as

described in part above in Paragraph 14, to include circumvention of the competitive bidding

process in order to award TMR subcontracts to a specific trucking company, and failure to

submit TMRs for review and approval by military and civilian contracting offices other than the

MCT, as required by government contracting regulations.

           24. The investigation revealed that, from in or about 2009 to in or about 2012, certain

Afghan trucking companies, including HSCC, received TMR transport subcontracts (as well as

other contracts and subcontracts for services such as heavy equipment leases) despite charging

rates above those offered by competitors.



                                                6

         Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 7 of 12
                      Involvement of Co-Conspirator Robert W. Green

           25. Further investigation identified Robert Warren Green, an enlisted soldier in the.

United States Army based at Fort Bragg in the Eastern District of North Carolina. Green spent

the majority of his military career working in the transportation and logistics fields. From in or

about January 2008 to in or about April 2009, then-Staff Sergeant Green (Green has since been

promoted to Sergeant First Class) deployed to Mghanistan with his unit, the 189th Combat

Sustainment Support Battalion (189th CSSB), based at and deployed from Fort Bragg               In

Afghanistan, Green was assigned to the MCT at Kandahar Air Field.

           26. While working at the MCT, Green received requests for resupply from United

States units operating in southern Afghanistan, and Green created TMRs based on the requests

he received. Green managed the subsequent TMR process, submitting TMRs to TOIFOR and

monitoring TMRs through completion. Green frequently       des~gnated   a specific Afghan trucking

company on TMRs he created, and that usually resulted in the award of the TMR subcontract to

the designated company.

           27. Green pleaded guilty to a criminal information filed on April 8, 2015, charging

him with a violation of Title 18, United States Code, Section 201(c)(1) (B)(demanding, .seeking

and receiving gratuities). See United States v. Robert W Green, No. 5:14-CR-108-BO. Pursuant

to a written plea agreement, Green provided the following information regarding his deployment

to Mghanistan in 2008 to 2009:

              a.      In or about January 2009, while standing outside the TOIFOR office on

Kandahar Air Field, Green spoke to SHADMAN about cash payments that he thought

SHADMAN had made to other soldiers, and Green asked whether he could also receive a

payment from SHADMAN. SHADMAN initially agreed to pay Green $50,000.



                                                7

         Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 8 of 12
              b.     Several days following this exchange, Green received a call .from

SHADMAN and SHADMAN instructed him to visit SI{ADMAN's private compound, located

adjacent to Kandahar Air Field. When Green visited as instructed, SHADMAN pulled from his

clothing a plastic bag containing $50,000, all in $100 bills. SHADMAN handed the bag to

Green. Green stated that SHADMAN referred to the payment as a "bundle."

              c.     Green understood the payment of $50,000 was given to him as part of an

agreement between him and SHADMAN and that according to the agreement, Green would

award future TMRs to SHADMAN's company.

              d.     Between the time of the initial payment from SHADMAN to Green and

Green's departure from Afghanistan in or about April 2009, Green processed multiple TMR

subcontracts for which he designated SHADMAN's company, HSCC, as the contractor.

              e.     Green stated that, after the initial payment of $50,000 at SHADMAN's

compound, SHADMAN gave Green several more payments. With each payment, SHADMAN

followed the same process described above, calling Green and requesting a visit to the

SHADMAN compound where Green received cash directly from SHADMAN. Each individual

payment totaled between $30,000 and $50,000. Green stated that the final payment was made to

him approximately three weeks prior to Green's return to the United States.         Green and

SHADMAN were always alone when SHADMAN handed him a payment or "bundle."

              f.     Green stated that he personally accepted a total of approximately $140,000

in cash, handed to him directly by SHADMAN in several installments between in or about

January 2009 and in or about April2009.




                                              8

         Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 9 of 12
               g.     Green stated that he deposited $20,000 of the cash he received from

SHADMAN into his personal bank account in the Eastern District of North Carolina upon his

return to the United States in or about April2009.

               h.     Following his return to the United States in or about April2009 and in the

Eastern District of North Carolina, Green used $25,000 of the cash paid to him by SHADMAN

to purchase an automobile.

                    Involvement of Co-conspirator David Anthony Kline

            28. Further investigation identified David A. Kline as Green's supenor officer

during the 2008-2009 deployment to Afghanistan described above in Paragraphs 24 through 26.

Kline was a United States Army First Lieutenant at the time, and in Afghanistan he served as the

officer-in-charge of the MCT at Kandahar Air Field.

            29. Working at the MCT,    ~ine   oversaw the TMR process supporting United States

military units operating in southern Afghanistan. In the course of his cooperation with the

Government, Green described that, at Kline's request, Green spoke to SHADMAN who agreed

to pay Kline $50,000. Green stated he accompanied Kline to SHADMAN's compound where he

witnessed SHADMAN give to Kline a stack of cash which Green estimated to be approximately

$50,000.

            30. Kline pleaded guilty on November 5, 2015, to a criminal information filed on

September 15,2015, and charging him with a violation of Title 18, United States Code, Section

201(c)(1) (demanding, seeking and receiving gratuities). See United States v. David A. Kline,

No.5:54-CR-264-BO. Pursuant to a plea agreement, Kline provided the following information

regarding his deployment to Afghanistan in 2008 to 2009:




                                                9

           Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 10 of 12
              a.     Kline state.d that during the course of the deployment to Afghanistan, in or

about February 2009, Kline asked Green to arrange for SHADMAN to make a cash payment to

Kline.

              b.     Kline stated that Green relayed his request to SHADMAN and then

informed Kline that SHADMAN has agreed to pay Kline. Kline then visited SHADMAN's

compound, accompanied by Green. While Green observed, SHADMAN handed to Kline a stack

of $100 bills which amounted to approximately $50,000. Kline understood that the payment was

given to him by SHADMAN with the expectation that Kline would use his position as officer-in-

charge of the MCT to treat SHADMAN's companies favorably in the contracting process and, in

particular, to award future TMRs to SHADMAN's companies.

              c.     Kline stated that he brought the cash that SHADMAN had given to him

out of Afghanistan when he returned to the United States, and that, he subsequently spent the
                                                                    I


money on various expenditures.




                                              10

         Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 11 of 12
                                       CONCLUSION


           31. Based on my training and experience, and the facts set forth in this affidavit,

there is probable cause to believe that violations of Title 18, United States Code, Section 371

(Conspiracy), and Section 201(c)(1)(A) (Giving, Offering, and Promising a Gratuity to a Public

Official) have been committed by HIKMATULLAH SHADMAN. Accordingly, a warrant to

arrest HIKMATULLAH SHADMAN is requested.




                             Speci'3I A ent Timothy G. Gannon
                             Federal\ eau of Investigation




              Subscribed and sworn to before me on the ~ay of December, 2015


                            , ~~
                             Honorable Robert T. Numbers, II
                             United States Magistrate Judge




Seen and approved by:
AUSABR
DOJ -Criminal Fraud LWW




                                              11

        Case 5:16-cr-00190-BO Document 1 Filed 12/23/15 Page 12 of 12
